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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

  JOSHUA GARCIA, ANDREA P. BRANDT )
  and HOWARD HART, individually and on )
  behalf of all others similarly situated,    )       Civil Action No. 20-cv-01078
                                              )
                                  Plaintiffs, )       Hon. Paul L. Maloney
                                              )
                         v.                   )       Mag. Phillip J. Green
                                              )
  ALTICOR, INC., THE BOARD OF )
  DIRECTORS OF ALTICOR, INC., THE )
  FIDUCIARY COMMITTEE OF ALTICOR, )
  INC., and JOHN DOES 1-30.                   )
                                              )
                                              )
                                  Defendants.
                                              )

  DEFENDANTS’ MOTION FOR PARTIAL RECONSIDERATION OF THE COURT’S
      ORDER DENYING DEFENDANTS’ MOTION TO DISMISS, OR, IN THE
   ALTERNATIVE, TO CERTIFY THE ORDER ON DEFENDANTS’ MOTION TO
      DISMISS FOR INTERLOCUTORY APPEAL UNDER 28 U.S.C § 1292(b)

        Pursuant to Federal Rule of Civil Procedure 54(b), Defendants Alticor Inc., the Board of

 Directors of Alticor Inc., and the Fiduciary Committee of Alticor Inc. (collectively “Defendants”),

 through their undersigned counsel, move for partial reconsideration of the Court’s August 9, 2021

 Order Denying Defendants’ Motion to Dismiss denying Defendants’ Motion to Dismiss (ECF No.

 11 PageID.1147-1191). The Sixth Circuit’s recent decisions in Smith v. CommonSpirit Health,

 No. 21-5964, 2022 U.S. App. LEXIS 17043, __ F.4th __ (6th Cir. June 21, 2022) and Forman v.

 TriHealth, Inc., No. 21-3977, 2022 U.S. App. LEXIS 19253, __ F.4th __ (6th Cir. July 13, 2022)

 clarified the pleading standard for claims challenging the investments and fees of defined

 contribution retirement plans under ERISA in the Sixth Circuit.         Application of this new,

 controlling authority to Plaintiffs’ allegations is dispositive of four of their five claims, thus

 Defendants respectfully request that the Court reconsider its August 9, 2021 Order Denying

 Defendants’ Motion to Dismiss (ECF No. 22) (“August 9 Order”). In the alternative, the Court
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 should certify its August 9 Order for interlocutory appeal under 28 U.S.C. § 1292(b) because the

 statutory requirements are satisfied and judicial economy would be preserved by the prompt

 resolution of the legal questions presented herein.

        Pursuant to Local Rule 7.1(d), counsel for the parties met and conferred on July 13, 2022

 by telephone and in subsequent email correspondence, and Plaintiffs’ counsel advised that

 Plaintiffs do not concur in the relief sought herein.

 Dated: July 19, 2022
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN

 JOSHUA GARCIA, ANDREA P. BRANDT )
 and HOWARD HART, individually and on )
 behalf of all others similarly situated,    )   Civil Action No. 20-cv-01078
                                             )
                                 Plaintiffs, )   Hon. Paul L. Maloney
                                             )
                        v.                   )   Mag. Phillip J. Green
                                             )
 ALTICOR, INC., THE BOARD OF )
 DIRECTORS OF ALTICOR, INC., THE )
 FIDUCIARY COMMITTEE OF ALTICOR, )
 INC., and JOHN DOES 1-30.                   )
                                             )
                                             )
                                 Defendants.
                                             )

       BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR PARTIAL
    RECONSIDERATION OF THE COURT’S ORDER DENYING DEFENDANTS’
 MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TO CERTIFY THE ORDER ON
  DEFENDANTS’ MOTION TO DISMISS FOR INTERLOCUTORY APPEAL UNDER
                             28 U.S.C § 1292(b)
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                                               INTRODUCTION

         Plaintiffs’ Class Action Complaint (“Complaint”) asserts breaches of fiduciary duty under

 the Employee Retirement Income Security Act (“ERISA”) related to the monitoring of the fees

 and performance of some of the Amway Retirement Savings Plan’s (“Plan”) investment options

 and of the Plan’s recordkeeping fees. When this Court considered and denied Defendants’ Motion

 to Dismiss Plaintiffs’ Complaint, the pleading standard for such claims was unsettled: case law

 from courts across the country conflicted and the Sixth Circuit had not ruled on the issue. Recently,

 however, in Smith v. CommonSpirit Health, No. 21-5964, 2022 U.S. App. LEXIS 17043, __ F.4th

 __ (6th Cir. June 21, 2022) and Forman v. TriHealth, Inc., No. 21-3977, 2022 U.S. App. LEXIS

 19253, __ F.4th __ (6th Cir. July 13, 2022), the Sixth Circuit affirmed dismissal of claims

 supported by similar allegations and many of the same theories as alleged here, finding that Smith’s

 and Forman’s allegations failed to state a plausible claim. Because Smith and Forman constitute

 a change in the controlling authority applicable to Plaintiffs’ claims, and allowing expensive, class

 action claims that are insufficiently plead under now-controlling Sixth Circuit law to proceed

 would constitute a palpable defect in the outcome of the case, the Court should exercise its

 discretion to reconsider its August 9, 2021 Order Denying Defendants’ Motion to Dismiss

 (“August 9 Order”) (ECF No. 22) and dismiss all but Plaintiffs’ claim that the Plan retained a

 higher cost share class for one fund offered in the Plan.1 Alternatively, the Court should certify its

 August 9 Order for interlocutory appeal under 28 U.S.C. § 1292(b) because the requirements for

 certification are satisfied and judicial economy would be preserved by the prompt resolution of

 this legal question.


 1
  Plaintiffs allege that the Committee should have selected a lower cost share class for the Vanguard Small Cap Growth
 Index Fund. (ECF No. 1 PageID.28-31, ¶¶ 101-111). The Sixth Circuit did not consider share class claims in Smith,
 and, in Forman, a share class challenge was the only claim that survived dismissal. Forman, 2022 U.S. App. LEXIS
 19253, at **13-23. Thus, Defendants are not moving for reconsideration of this single claim.

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                FACTUAL BACKGROUND AND PROCEDURAL HISTORY

        On November 9, 2020, three former employees of Alticor Inc. (or its subsidiaries)

 (“Alticor”) filed the Complaint on behalf of all participants and beneficiaries in the Plan asserting

 that Alticor Inc., its Board of Directors, and the Alticor Fiduciary Committee (collectively,

 “Defendants”) breached their fiduciary duties under ERISA.              ECF No. 1 PageID.1-44.

 Specifically, the Complaint alleges Defendants breached ERISA’s duty of prudence by: (1)

 retaining until 2018 the Fidelity Freedom Funds (“Freedom Funds”), a suite of actively managed

 target date funds, despite the fact that Fidelity offered lower cost target date fund suites that were

 either comprised of passively managed funds (the “Freedom Index Funds”) or organized as

 collective trusts (the “FIAM Blend Funds”) that the Committee could have selected for the Plan

 (ECF No. 1 PageID.23-28, 31-38 at ¶¶ 90-100, 112-134); (2) retaining nine overpriced funds in

 the Plan (id. at PageID.18-22, ¶¶ 75-87); (3) retaining five underperforming funds in the Plan (id.

 at PageID.23, ¶¶ 88-89); and (4) failing to monitor and control the Plan’s recordkeeping fees (id.

 at PageID.14-18, ¶¶ 14-18). The Complaint also re-casts these same allegations as a breach of

 ERISA’s duty of loyalty. Id. at PageID.39, ¶¶ 135-138.

        Defendants filed a Motion to Dismiss the Complaint for failure to state a claim on March

 3, 2021. ECF No. 11 PageID.1147-1191. On August 9, 2021, in the absence of a governing

 standard in the Sixth Circuit, and finding other, out-of-circuit cases denying motions to dismiss

 persuasive, the Court held that Plaintiffs’ Complaint sufficiently pled breach of fiduciary duty

 claims under ERISA and denied Defendants’ Motion to Dismiss. ECF No. 22 PageID.1379.

        Following the Court’s August 9 Order, Defendants answered Plaintiffs’ Complaint and the

 Court entered a case management order. See ECF No. 31 PageID.1495-1500. The Sixth Circuit

 issued its opinions in Smith and in Forman on June 21, 2022 and July 13, 2022, respectively.

 Counsel for the parties met and conferred on July 13, 2022 at which time Defendants’ counsel
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 requested that Plaintiffs voluntarily dismiss all but their share class claim in light of Smith and

 Forman, or amend their Complaint to address the new Sixth Circuit authority. Counsel for

 Plaintiffs declined to do so, and Defendants filed the instant motion.

                                            ARGUMENT

 I.     Reconsideration Is Warranted Because the Pleading Standard Recently Articulated
        in Smith and Reaffirmed in Forman Bars Four of Plaintiffs’ Five Claims.

        The Court has discretion to reconsider its prior orders at any time prior to the entry of

 judgment. See Rodriguez v. Tenn. Laborers Health & Welfare Fund, 89 F. App’x 949, 959 (6th

 Cir. 2004) (finding that the power to reconsider orders prior to final judgment arises from the

 common law and Federal Rule of Civil Procedure 54(b)). Reconsideration of a prior order may be

 granted when the prior order constitutes a “palpable defect” that will lead to a “different disposition

 of the case.” W.D. Mich. Local Civil Rule 7.4(a). Reconsideration is appropriate when there is

 an intervening change in the law. Kowalski v. Mich. State Univ., No. 1:18-cv-390, 2021 U.S. Dist.

 LEXIS 34376, at *4 (W.D. Mich. Feb. 24, 2021); see also Forman v. Meridian Bioscience, Inc.,

 387 F. Supp. 3d 791, 796 (S.D. Ohio 2019).

        This standard is met here. When the Court denied Defendants’ Motion to Dismiss, the

 Sixth Circuit had neither affirmed nor rejected the types of claims asserted herein. But in Smith,

 the Sixth Circuit definitively clarified the pleading standard for Plaintiffs’ claims, and all of

 Plaintiffs’ claims, other than their share class claim, should be dismissed under that clarified

 standard. The Sixth Circuit then re-affirmed that standard in Forman just three weeks after Smith

 was decided. Permitting costly, burdensome class action claims to proceed where the now-

 controlling legal authority mandates their dismissal would result in a “palpable defect” in the




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 outcome of this case,2 thus the Court is well within its discretion to reconsider its August 9 Order

 and dismiss Plaintiffs’ claims.

          A. The Sixth Circuit Requires Dismissal of Plaintiffs’ Claims Challenging the
             Freedom Funds.

          Plaintiffs allege that Defendants violated ERISA’s duty of prudence by retaining the

 Freedom Funds from the start of the Class Period until 2018 when they were replaced by the FIAM

 Blend Funds. See ECF No. 11 PageID.1172. Specifically, Plaintiffs allege that Defendants could

 have replaced the Freedom Funds with either: (i) the FIAM Blend Funds, which were less

 expensive because they were organized as collective trusts, rather than as mutual funds, or (ii) the

 Freedom Index Funds, which were less expensive because they were comprised of passively

 managed index funds and were also less risky. ECF No. 1 PageID.23-28 at ¶¶ 90-100; see also

 ECF No. 11 Page ID.1172-1182. The Sixth Circuit now requires dismissal of this claim for several

 reasons:

          First, Plaintiffs’ claim disregards that Defendants undisputedly replaced the Freedom

 Funds with the FIAM Blend Funds midway through the putative class period in 2018. See ECF

 No. 1 PageID.27 at ¶ 99 n.14. Under Smith, removing an allegedly imprudent fund is evidence of

 a prudent process because it shows fulfillment of the “continuing duty to monitor trust

 investments.” Smith, 2022 U.S. App. LEXIS 17043, at *21. Thus, the fact that Defendants

 removed the allegedly imprudent Freedom Funds from the Plan and replaced them with the very

 funds Plaintiffs advocate for as a prudent alternative is fatal to their imprudence claim because it

 is not plausible to infer that Defendants failed to monitor the Freedom Funds under the facts as

 pled.



 2
   Even with Plaintiffs’ share class claim remaining (supra, note 1), dismissal of the other four claims will significantly
 limit the scope of discovery and the issues remaining for further litigation. See infra at 11.

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          Second, Plaintiffs’ imprudence claim as it relates to the Freedom Funds rests almost

 entirely on comparisons between the fees, performance, and risk profile of the actively managed

 Freedom Funds to the passively managed Freedom Index Funds. Plaintiffs allege that the Fidelity

 Freedom Index Funds that were better rated by Morningstar, had higher returns, lower risk, and

 lower fees, and, as such, investors were “fleeing” the Freedom Funds. ECF No. 1 PageID.31-38

 at ¶¶ 112-134. But, considering materially identical allegations,3 Smith held there was no plausible

 inference of imprudence. Actively and passively managed funds are simply different types of

 investments, thus comparing the two is an apples-to-oranges comparison that cannot show that one

 is better than the other. Smith, 2022 U.S. App. LEXIS 17043, at **10-17; Forman, 2022 U.S.

 App. LEXIS 19253, at **11-12. Thus, the Court cannot plausibly infer that the actively managed

 Freedom Funds were imprudent through a comparison to the passively managed Freedom Index

 Funds.

          Critically, even if it was appropriate to compare the Freedom Funds to the Freedom Index

 Funds, Smith explained that comparisons of short-term performance, identical to what is alleged

 in this case,4 do not support an inference that the Freedom Funds were an imprudent choice. Smith,

 2022 U.S. App. LEXIS 17043, at **13-14. At best, short-term performance allegations show that

 the Freedom Index Funds performed better at a snapshot in time, but that does not support a finding

 of imprudence because “[p]recipitously selling a well-constructed portfolio in response to

 disappointing short-term losses, as it happens, is one of the surest ways to frustrate the long-term

 growth of a retirement plan.” Id.; Forman, 2022 U.S. App. LEXIS 19253, at **11-12. In addition,

 the allegations as pled here show that: (1) the Freedom Funds remained more than twice as popular



 3
   Compare e.g., ECF No. 1 PageID.36-38 at ¶¶ 129-133 to Complaint, Smith v. CommonSpirit Health, No. 2:20-cv-
 00095 (E.D. Ky.) (“Smith Complaint”), ECF No. 3 PageID.96-97, 99-101 at ¶¶ 31, 34-36.
 4
   Compare ECF No. 1 PageID.36-38 at ¶¶ 129-133 to Smith Complaint, ECF No. 3 PageID.101 at ¶ 36.

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 as the Freedom Index Funds as measured by total assets (ECF No. 11 PageID.1173), (2) the

 Freedom Funds still received silver ratings from Morningstar (id.), and (3) the Freedom Funds

 have outperformed the Freedom Index Funds in the long-term (id. at PageID.1180) and based on

 more recent performance data (ECF No. 20 PageID.1348). Smith held that an inference of

 imprudence was not warranted under similar facts. Smith, 2022 U.S. App. LEXIS 17043, at **18-

 19.5

          Finally, Smith also considered the “red flags” that the Smith plaintiffs alleged, which are

 nearly identical to those alleged here, such as the alleged outflows of investors from the Freedom

 Funds (ECF No. 1 PageID.38 at ¶ 132), an analyst critique (ECF No. 1 PageID.38 at ¶ 133), and

 the alleged riskiness of the Freedom Funds (ECF No. 1 PageID.38 at ¶ 133). Smith held that those

 allegations are not sufficient to support an imprudence claim because they are all impermissible,

 hindsight-based critiques that would not have caused alarm to a reasonably prudent fiduciary in

 real-time and do not show “serious signs of distress.” Smith, 2022 U.S. App. LEXIS 17043, at

 **17-18.

          B. The Sixth Circuit Requires Dismissal of Plaintiffs’ Claim That Nine Plan Funds
             Were Overpriced Compared to the ICI Median and Average.

          Plaintiffs also claim that nine of the Plan’s mutual funds had excessive management fees

 when compared to median and average fees reported by the Investment Company Institute (“ICI”).

 ECF No. 1 Page.ID 21-22 at ¶¶ 85-86. But the Sixth Circuit has made clear that challenges based

 on fee comparisons between dissimilar funds are, on their own, insufficient to state an imprudence

 claim. Forman, 2022 U.S. App. LEXIS 19253, at *11-12. Indeed, Smith rejected comparisons to

 an ICI average to support an excessive management fee claim, and the same result is warranted



 5
  Notably, Plaintiffs do not even allege the performance data of the FIAM Blend Funds, thus that claim is even thinner.
 ECF No. 1 PageID.28 at ¶ 100.

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 here. While Smith considered total plan cost, not individual fund expense ratios as Plaintiffs do

 here, the same logic applies: if it is not per se unlawful to select actively managed funds, which

 are known to cost more than passively managed funds, then comparing the Plan’s management

 fees to an average that combines fees for actively and passively managed funds is not a plausible

 way to show imprudence. All the comparison to the ICI average shows is that the Plan uses active

 funds, which is simply another way to lodge an impermissible “general attack on active

 investments.” Smith, 2022 U.S. App. LEXIS 17043, at **22-23.

        C. The Sixth Circuit Requires Dismissal of Plaintiffs’ Claim that Five Plan Funds
           Underperformed Average Peer Group Performance on a Short-Term Basis.

        Plaintiffs further claim that Defendants acted imprudently by retaining five

 underperforming mutual funds during the putative class period. ECF No. 1 PageID.23 at ¶ 88.

 Their only supporting factual allegations for this claim, though, are comparisons to peer group

 performance that are insufficient under the Sixth Circuit’s standard.

        First, Plaintiffs do not define the peer groups they rely on, so the Court is unable to

 determine whether the comparisons are proper apples-to-apples comparisons required by the Sixth

 Circuit. Smith, 2022 U.S. App. LEXIS 17043, at **14-17; Forman, 2022 U.S. App. LEXIS 19253,

 at **9-10 (reiterating the importance of sound comparisons when challenging individual

 investment performance). For example, the peer groups likely do not distinguish between actively

 and passively managed funds and melding the two types together would render the comparison

 improper just as it did for the ICI median and averages. Id.; supra Section I(B).

        Moreover, Plaintiffs’ comparisons are the same type of barebones, short-term performance

 analyses that the Sixth Circuit rejected. Smith, 2022 U.S. App. LEXIS 17043, at *13 (reasoning

 that, without more, simply pointing to a “snapshot of the lifespan of a fund that is supposed to

 grow for fifty years does not suffice to plausibly plead an imprudent decision—largely a process-


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 based inquiry—that breaches a fiduciary duty.”); Forman, 2022 U.S. App. LEXIS 19253 at *10

 (disappointing results in the near-term do not support an inference of imprudence).

         D. The Sixth Circuit Requires Dismissal of Plaintiffs’ Recordkeeping Claim.

         Plaintiffs also allege that Defendants violated their fiduciary duties by permitting

 recordkeeping fees that are excessive considering industry average fees, which Plaintiffs estimate

 at $5 - $35 per participant annually based on fees reported in other cases and on the 401(k)

 Averages Book (20th ed. 2020). ECF No. 1 PageID.16-17 at ¶¶ 66, 69.

         Smith rejected a similar claim. The Sixth Circuit questioned the plaintiffs’ alleged industry

 average, which was identical to the allegations here. Compare id. to Smith Complaint, PageID.109

 at ¶ 45. It noted that the source data included “some of the smallest plans on the market, which

 might offer fewer services and tools to plan participants.” Smith, 2022 U.S. App. LEXIS 17043,

 at **21-22. That is not appropriate, according to the Sixth Circuit, because it lacks context

 showing that the plan at issue was overpaying for the same services it could have received

 elsewhere. Id.; see also, e.g., Forman, 2022 U.S. App. LEXIS 19253, at **10-11 (finding that a

 challenge to overall plan fees requires plaintiffs to allege that the “fees were high in relation to the

 services that the plan provided.”)

         Accordingly, Plaintiffs’ reliance on an inappropriate industry average and failure to plead

 the recordkeeping services offered by the Plan and the alleged comparator are fatal to this claim.

         E. The Sixth Circuit Requires Dismissal of Plaintiffs’ Disloyalty Claim.

         Plaintiffs also claim that Defendants breached ERISA’s duty of loyalty. ECF No. 1

 PageID.39 at ¶¶ 135-138.        Plaintiffs’ disloyalty claim is simply a re-cast version of their

 imprudence claims; there are no added allegations that Defendants were acting in their own

 interests. Smith and Forman clarified this is insufficient. A claim for breach of the fiduciary duty

 of loyalty requires a plaintiff to plead facts that suggest “the fiduciary’s operative motive was to

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 further its own interests.” Smith, 2022 U.S. App. LEXIS 17043, at *23 (internal quotation

 omitted); Forman, 2022 U.S. App. LEXIS 19253, at **11-12 (same).                              Because Plaintiffs’

 Complaint falls short of this standard, the claim for breach of the fiduciary duty of loyalty must

 also be dismissed.6

 II.      In The Alternative, the Court Should Certify Its August 9 Order for Interlocutory
          Appeal.

          Should the Court decline to reconsider Defendants’ Motion to Dismiss, it should certify its

 August 9 Order for interlocutory appeal under 28 U.S.C. § 1292(b).

          A district court may certify an order for interlocutory appeal if the order (1) “involves a

 controlling question of law” for which (2) there is “substantial ground for difference of opinion”

 and (3) “an immediate appeal from the order may materially advance the ultimate termination of

 the litigation.” 28 U.S.C. § 1292(b). All three elements are satisfied here, thus Defendants

 respectfully request that the Court exercise its discretion to certify the order for immediate appeal.

          First, the Court’s August 9 Order analyzed the pleading standard to state a plausible claim

 in the Sixth Circuit and thus “falls comfortably” in the description of an order concerning a

 controlling question of law. See In re Trump, 874 F.3d 948, 951 (6th Cir. 2017); Kollaritsch v.

 Mich. State Univ. Bd. of Trs., No. 17-2445/18-0101, 2018 U.S. App. LEXIS 17379, at **3-4 (6th

 Cir. June 25, 2018).

          Second, there are “substantial grounds for difference of opinion” as to whether the

 allegations in Plaintiffs’ Complaint sufficiently state a claim under ERISA. As noted in the August

 9 Order, at that time of the Order, there was a circuit split concerning what is necessary to state a


 6
   Plaintiffs also allege in Count II that the Board and Alticor (improperly called Amway, a corporate entity not named
 as a defendant in this case) failed to properly monitor the Plan’s fiduciary committee. A monitoring claim was not
 addressed in Smith or Forman, however it is settled law that monitoring claims are derivative of the underlying
 imprudent or disloyal conduct and must be dismissed if the fiduciary breach claims are dismissed. Accordingly, Count
 II should also be dismissed other than as it relates to the share class claim that is not at issue herein. ECF No. 11
 PageID.1190.

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 plausible claim in this context, and Smith and Forman have only deepened the split with respect

 to the issues germane to Plaintiffs’ claim here. ECF No. 22 PageID.1379. Courts have found that

 this element is satisfied where a potential circuit split on an identical legal issue existed.

 Kollaritsch, 2018 U.S. App. LEXIS 17379, at *4; see also In re Trump, 874 F.3d at 952 (noting

 that this element is satisfied where “fair-minded jurists might reach contradictory conclusions”).7

          Third, an immediate appeal of this order will “materially advance the ultimate termination

 of the litigation.” Smith and Forman are controlling for four of Plaintiffs’ five claims. Dismissal

 of those four claims – or even fewer than all four – would drastically narrow and focus the scope

 of any remaining class action discovery and dispositive motions. Kollaritsch, 2018 U.S. App.

 LEXIS 17379, at *4 (granting leave to appeal where the appeal could dispose of one claim and

 clarify the pleading standard, which would in turn “shape the discovery process for the remaining

 . . . claims and the arguments advanced at the summary judgment stage”). Only one Plan fund is

 at issue in Plaintiffs’ share class claim, and it is limited to a single, straight-forward legal theory

 that a less expensive share class existed. Thus, fact and expert discovery and dispositive motions

 would be limited to fact-finding and analysis on that single decision to retain a different share class

 for one fund, as opposed the current scope of the case which covers a wide array of fiduciary

 decisions on numerous funds and the Plan’s recordkeeping fees over the entire putative class

 period. See Forman, 2022 U.S. App. LEXIS 19253, at *22 (noting that the limited legal question

 presented by the plaintiffs’ remaining share class claim “is narrow and ought to be readily

 answerable”).




 7
  Defendants’ position, as articulated in Section I, is that the Sixth Circuit now plainly bars four of Plaintiffs’ claim.
 Thus, within the Sixth Circuit, the law is no longer unclear. To the extent that this Court disagrees, however, the
 substantially differing opinions on these issues across the country make the issue ripe for immediate appeal.

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        Accordingly, because 28 U.S.C. § 1292(b)’s statutory requirements are satisfied, and the

 prompt resolution of this legal question would benefit the Parties and preserve judicial economy,

 immediate appeal is proper in this case.

                                            CONCLUSION

        In light of new, controlling authority from the Sixth Circuit, this Court should exercise its

 discretion to reconsider its August 9 Order and dismiss Plaintiffs’ Complaint with prejudice except

 to the extent that Plaintiffs alleged a breach of ERISA duty of prudence based on retaining a higher

 cost share class for one fund in the Plan (see supra, n.1). Alternatively, the Court should certify

 its August 9 Order for interlocutory appeal under 28 U.S.C. § 1292(b).


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 Dated: July 19, 2022



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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing pleading was

 served this 19th day of July, 2022 upon the Plaintiffs via the Court’s CM/ECF system.

                                               /s/ Stacey C.S. Cerrone



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